 

U.S. DISTRICT COURT
EASTERN DISTRICT - WI
COMPLAINT ie
(for filers who are prisoners without lawyerg9}|9 gCT 2| P > 13:
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UNITED STATES DISTRICT COURTS! eree ce
EASTERN DISTRICT OF WISCONSIN

 

(Full name of plaintiff(s))

Arron Cornelws “PowenS

 

 

Vv. “49- Ab 4u

(Full name of defendant(s))

 

(to be supplied by Clerk of Court)

— Milwaukee County Soul
and cul Parties snvalveck

E+ A

 

A. PARTIES

1. Plaintiff is a citizen of Wh Sc ANSiV\ , and is located at
(State)

G44_ AN 4h Streeb wilwolee WE 452233

(Address of prison or jail)

(If more than one plaintiff is Hling, use another piece of paper.)

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2. Defendant Maladaukee, county Saal

. (Name)
is (if a person or private corporation) a citizen of wibconsin

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(State, if known)
and (if a person) resides at G44 N qth Stree k

(Address, if known)
and (if the defendant harmed you while doing the detendant’s job)

worked for Milos pier Counky jak

 

(Employer’s name and address, if known)
(If you need to list more defendants, use another piece of paper.)
B. STATEMENT OF CLAIM

On the space provided on the following pages, tell:
Who violated your rights;

What each defendant did;

When they did it;

Where it happened; and

Why they did it, if you know.

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oF JURISDICTION

 

MM Iam suing for a violation of federal law under 28 U.S.C. § 1331.
OR

[| Iam suing under state law. The state citizenship of the plaintiff(s) is (are)
different from the state citizenship of every detendant, and the amount of
money at stake in this case (not counting interest and costs) is

$
D. RELIEF WANTED
Describe what you want the Court to do if you win your lawsuit. Examples may

include an award of money or an order telling detendants to do something or to
stop doing something.

 

 

 

 

 

 

 

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E. JURY DEMAND

I want a jury to hear my case.

Bl yes [ ]-No

I declare under penalty of perjury that the foregoing is true and correct.
Complaint signed this __ VT day of Octobe - 2044.

Respectfully Submitted,

Cvwm Fav

Signature of Plaintiff

Zoito3ind7

Plaintiff's Prisoner [ID Number

quq Al 9th Street Milunvkee ik

43233
(Mailing Address ot Plaintiff)

(If more than one plaintiff, use another piece of paper.)

REQUEST TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING THE
FULL FILING FEE

1] I DO request that | be allowed to file this complaint without paying the filing fee.
I have completed a Request to Proceed in District Court without Prepaying the
Full Filing Fee form and have attached it to the complaint.

[| IDO NOT request that I be allowed to file this complaint without prepaying the

filing fee under 28 U.S.C. § 1915, and I have included the full filing fee with this
complaint.

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